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    1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION

    3    NATHSON E. FIELDS,                      )
                                                 )
    4                    Plaintiff,              )
                                                 )
    5               v.                           )   No. 10 CV 01168
                                                 )
    6    CITY OF CHICAGO, et al.,                )   Chicago, Illinois
                                                 )   January 27, 2014
    7                    Defendants.             )   9:43 a.m.

    8                        TRANSCRIPT OF PROCEEDINGS
                     BEFORE THE HONORABLE MATTHEW F. KENNELLY
    9
         APPEARANCES:
   10
         For the Plaintiff:                MR. LEONARD C. GOODMAN
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         For Defendants City, et           DYKEMA GOSSETT, PLLC
   17    al.:                              BY: MR. PAUL A. MICHALIK
                                                MR. DANIEL M. NOLAND
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   19
         For Defendants Wharrie            MR. STEPHEN L. GARCIA
   20    and Kelley:                       Assistant Cook County State's
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    1          (Proceedings heard in open court:)

    2               THE CLERK:     Case 10 C 1168, Fields versus City of

    3    Chicago.

    4               THE COURT:     Good morning.

    5               MR. MICHALIK:      Good morning, your Honor.         Paul

    6    Michalik on behalf of the City defendants.

    7               MR. NOLAND:     Dan Noland on behalf of the City

    8    defendants as well.

    9               MR. GARCIA:     Good morning, your Honor.         Stephen

   10    Garcia on behalf of defendants Wharrie and Kelley.

   11               MR. GOODMAN:     Leonard Goodman on behalf of Nathson

   12    Fields.

   13               MS. GORMAN:     Candace Gorman on behalf of Nathson

   14    Fields.

   15               THE COURT:     So my question, there are a couple of

   16    reasons for bringing you in.         One had to do with the Seventh

   17    Circuit decision in which, I guess, they expressed they were

   18    somewhat mystified by the fact that I had retained

   19    jurisdiction over the -- one of the state law things.               And so

   20    I was looking through the -- you know, I went online and

   21    looked through the briefs to try to figure out whether anybody

   22    had given them -- and it wasn't a real long ruling, but I did

   23    actually explain why I did that.

   24               Did anybody ever give them that ruling?            Not that you

   25    would have had to because that really wasn't on appeal.                   There
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    1    was a ruling in which I explained, it was about a four or

    2    five-page ruling.      I think I printed it out.         It was --

    3               MR. GARCIA:     I guess the answer is no.         I can't think

    4    of any context it would have come up to give it to them --

    5               THE COURT:     It was October -- yeah, right.          Did it

    6    come up at oral argument?         I didn't --

    7               MR. GARCIA:     No, not at all.

    8               THE COURT:     So this is just one of those things where

    9    somebody looks through the record and says, "Gee, I can't

   10    figure this out."

   11               MR. GARCIA:     Right.

   12               THE COURT:     Okay.    Well, I did already explain it.

   13    So I'll deal with that at an appropriate point in time.

   14               Second topic is, I want to have -- and it's going to

   15    have to be really, really fast, like, tomorrow or the next day

   16    given the schedule that we're under.           I need -- I want to hear

   17    argument on a couple of specific points on the City

   18    defendants' motion for summary judgment.            And I'm going to

   19    tell you what they are.        It's conceivable I might add a third,

   20    but I don't think so, and if I do, I'll let you know by e-mail

   21    later today.

   22               So the two issues are, number one, what I'll call the

   23    causation issue relating to trial number one.             And I assume

   24    you know what I'm talking about when I say that; in other

   25    words, the argument that there wasn't any potential causation
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    1    due to the Brady, alleged Brady violations.             Given what

    2    happened with regard to that trial, I'm sort of being

    3    deliberately general.       So you know what the argument is.             You

    4    know what the argument I'm talking about is.             So I want to

    5    hear argument about that.

    6               And then the other one has to do, it's a much

    7    narrower issue.      It has to do with the -- it's the

    8    admissibility issue regarding Langston's testimony which I

    9    believe was at the penalty phase.          There's an argument

   10    regarding hearsay and admissibility under 804(b)(1), I think

   11    it is.

   12               And there's really two points I wanted to talk about

   13    there.    One is, is the guy unavailable because there's a

   14    statement that there's no indication he is, but it's all

   15    pretty conclusory.       And then the argument -- and obviously,

   16    this would depend on availability.           If the man's available,

   17    then he's available.       The second issue has to do with the

   18    other predicate under 804(b)(1) is similar motive to cross-

   19    examine.

   20               So maybe you know.       Where is Mr. Langston?        Is he

   21    local?

   22               MS. GORMAN:     There's two Mr. Langstons, and they both

   23    testified at the penalty.        I think you're talking about Randy.

   24               THE COURT:     Randy is the one I'm talking about.

   25               MS. GORMAN:     He is available.       He's in prison.
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    1                THE COURT:    He's in prison.      So he's not unavailable.

    2                MS. GORMAN:    He's alive.

    3                MR. GOODMAN:    He's available.

    4                THE COURT:    Where is he in prison?

    5                MR. MICHALIK:     I don't know, your Honor.         He did

    6    testify --

    7                THE COURT:    Is he in prison within the state of

    8    Illinois?

    9                MR. MICHALIK:     I believe he is.      He did testify in

   10    the certificate of innocence proceeding.

   11                THE COURT:    Okay.    But, I mean, is he in the federal

   12    prison or a state prison?

   13                MS. GORMAN:    State prison.

   14                MR. NOLAND:    State prison.

   15                THE COURT:    He's in a state prison.        So presumably,

   16    that is in Illinois.       Okay.    Well, maybe that's an easy one

   17    then.   So I guess maybe then you're going to need -- so let's

   18    sort of collapse that.        So you're going to need to tell me why

   19    it is that you think his testimony, his former testimony is

   20    available if he's -- or is admissible if he's available.                  I

   21    mean, there may be, you know, a residual exception issue or

   22    something like that.

   23                But anyway, so those are the two things.            Like I say,

   24    it's conceivable I might add a third, but I think it's pretty

   25    unlikely and, if so, I'll send an e-mail, I guess, to
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    1    Ms. Gorman.     Which one of the two of you should I send it to?

    2                MR. MICHALIK:     Either one, your Honor.

    3                THE COURT:    Okay.    I'll send it to one of you and to

    4    Mr. Garcia later today.        It would be probably this afternoon

    5    sometime.

    6                So those were the two things I wanted to discuss, but

    7    since I have you here, is there anything any of you want to

    8    discuss since I've got you here?

    9                MR. MICHALIK:     There is, we did file a motion with

   10    respect to our reply brief.

   11                THE COURT:    Oh, there was an excess page thing.

   12                MR. MICHALIK:     Right.

   13                THE COURT:    Yes, yes, yes.      That's granted.

   14                MR. MICHALIK:     Thank you, your Honor.

   15                THE COURT:    Let me just get the docket number.              Pam,

   16    that's at Docket No. 476.         That's granted.

   17                And so there's a hearing date of January 30th which

   18    we can vacate.

   19                MS. GORMAN:    I guess it doesn't --

   20                THE COURT:    So you eventually got it on file, yes.

   21    So we had this problem on -- thanks for sending it by e-mail.

   22                MR. MICHALIK:     We filed it on Saturday.

   23                THE COURT:    It was good to have at least a few extra

   24    hours on that.      Yeah, they were originally reporting that it

   25    was a hacker attack, and then it turned out it's not a hacker
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    1    attack, it was an internal glitch, which is sort of

    2    interesting.

    3               MR. MICHALIK:      And it wasn't just this district

    4    either.

    5               THE COURT:     It was everything.

    6               MR. GARCIA:     It was the Seventh Circuit site, too.

    7               THE COURT:     It was everything.

    8               MS. GORMAN:     Across the country.

    9               THE COURT:     So every court, federal court site in the

   10    entire United States of America.          And it was interesting

   11    because I couldn't even -- because when I went home, I figured

   12    well, I can get in -- I needed to get something here, and I'm

   13    normally able to get in through a VPN connection here.                That

   14    was down, too, so it was bad.         Anyway, anything

   15    else anybody --

   16               MS. GORMAN:     I guess it doesn't make any difference

   17    if I want to object to their doing 38 pages when you ordered

   18    15?

   19               THE COURT:     No.   I mean, yeah, it might make a

   20    difference but, you know, we're going to have argument about

   21    it.   So, I mean, if there's something else that you -- if

   22    there's something else that you would like to talk about at

   23    argument because you think they got too many pages and there's

   24    something that you want to bring up, here's what I want you to

   25    do -- well, we're going to come up with a date in a second.
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    1    Let's come up with a date first.

    2               You know, again, given the time crunch -- and,

    3    frankly, the time crunch isn't so much my time crunch.                It's

    4    your time crunch involving the pretrial order and things like

    5    that.    So I could -- I could talk to you tomorrow in the

    6    morning after my call or in the afternoon probably something

    7    like 2:30-ish or something like that, or I could do it on

    8    Wednesday at essentially the same -- Wednesday, I could do it

    9    at 1:30 as opposed -- or after my morning call.              I won't let

   10    it go past Wednesday.       So is it doable tomorrow?

   11               MR. MICHALIK:      We can do it tomorrow afternoon, your

   12    Honor.

   13               THE COURT:     Tomorrow afternoon?

   14               MS. GORMAN:     I think I've got the major burden on

   15    this response.      I'd rather have until Wednesday.

   16               THE COURT:     Okay.    So how about something like 10:30

   17    on Wednesday?

   18               MS. GORMAN:     That's perfect.

   19               THE COURT:     Okay.    So argument on the motion -- just

   20    check and make sure it works for you.           10:30 on this

   21    Wednesday, which would be the 29th, I think.

   22               MR. NOLAND:     Yes, your Honor.       Thank you.

   23               THE COURT:     Okay.    So oral argument on the motion to

   24    dismiss is set for that date.         So here's what you need to do,

   25    Ms. Gorman.     If --
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    1               MS. GORMAN:     I'm sorry.     On the motion for summary --

    2               THE COURT:     Summary judgment, yeah.        Motion for

    3    summary judgment, right.        My mistake.

    4               Here's what you need to do.         If there's some other

    5    point that you want to argue, and what I'm really talking --

    6    because I have veto power, okay, just to be clear.               So what

    7    I'm really talking about is if there's something that's

    8    brought up in the reply, not something that's, you know, in

    9    the original briefs, it's talked about, something that's

   10    brought up in the reply you're thinking, "Wait a second, you

   11    know, if Kennelly hadn't give them all those excess pages,

   12    they wouldn't have been able to argue that, I really need to

   13    respond to this," you let them know by noon tomorrow.

   14               MS. GORMAN:     Okay.

   15               THE COURT:     And let me know, too, so that I can look

   16    at it and be prepared to ask whatever questions I need to ask.

   17    And so the way you'd let me know is, just, you can do it by

   18    e-mail, frankly.      You've got the e-mail address from where

   19    they sent the thing the other day.           You can just use that one.

   20               MS. GORMAN:     Okay.

   21               THE COURT:     Okay.    Anything else anybody can think of

   22    to bring up?

   23               MR. GARCIA:     I guess, your Honor, with respect to my

   24    clients, where I stand, I mean, the Seventh Circuit has

   25    suggested, for instance, that defendant Kelley should be
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     1   dismissed.

     2               THE COURT:    Yeah, the defendant -- okay.          So I'm

     3   still trying to sort my way through it.            Is that the same

     4   issue as the relinquishment of jurisdiction?

     5               MR. GARCIA:     Not technically, no.       I mean, the

     6   jurisdiction overall --

     7               THE COURT:    I mean, the jurisdictional thing

     8   regarding the state law claims, I'm going to chalk it up to

     9   the court of appeals not understanding that I actually gave an

   10    explanation because Judge Posner's opinion basically says,

   11    "we're mystified" or something like that.             Well, I can remove

   12    the mystification.

   13                MR. GARCIA:     That was supplemental jurisdiction over

   14    the claims.

   15                THE COURT:    That was supplemental jurisdiction.

   16                MR. GARCIA:     The issue right now pertains to his

   17    immunity.     The Seventh Circuit is suggesting that -- or

   18    stating that he's immune, so --

   19                THE COURT:    Well, if they said he's immune, that's

   20    kind of the end of the story, isn't it?

   21                MR. GARCIA:     It would seem to be --

   22                THE COURT:    Again, I'm still trying to work my way

   23    through it but...

   24                MR. GARCIA:     I agree, so I don't know why they just

   25    decided to remand it, but -- excuse me.
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     1              THE COURT:     Well, we can all sort of ponder that one.

     2              MR. GARCIA:      Yes.    And as to Wharrie, Judge Sykes has

     3   pretty much invited the motion for a hearing en banc, which we

     4   are going to do.

     5              THE COURT:     She's invited a motion for rehearing en

     6   banc.    Okay.    All righty then.      Well, so you've told me what

     7   you're going to do.       And I suppose then if there's a

     8   possibility of a rehearing en banc then, maybe I shouldn't be

     9   dismissing Kelley because maybe --

   10               MR. GARCIA:      It won't be as to --

   11               THE COURT:     Well, how do you know?        I mean, if

   12    there's a rehearing en banc, isn't it a rehearing en banc?

   13               MR. GARCIA:      Well, I suppose so.

   14               THE COURT:     They usually wouldn't say, "Oh, we're

   15    just going to do it on this one little narrow point."                They

   16    just basically say, "We're going to rehear the whole kit and

   17    caboodle."     So if you're -- when are you -- you're going to

   18    take the whole 21 days?

   19               MR. GARCIA:      It's actually 14, I believe.

   20               THE COURT:     You'll take the whole 14?

   21               MR. GARCIA:      Yeah.

   22               THE COURT:     Okay.     Well, you're going to do what

   23    you're going to do, and I'm just going to wait on Kelley to

   24    see what they do.       So...

   25               MR. GARCIA:      Okay.
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     1              THE COURT:     Don't anybody make any plans for March

     2   3rd other than being here.

     3              MS. GORMAN:      The 10th, March 10th.

     4              THE COURT:     10th, whatever.       March 10th.     Okay.      See

     5   you Wednesday.

     6              MS. GORMAN:      Thank you.

     7              MR. GOODMAN:      Thank you, Judge.

     8         (Proceedings adjourned at 9:55 a.m.)

     9                                 * * * * * * *

   10                              C E R T I F I C A T E

   11              I, Judith A. Walsh, do hereby certify that the

   12    foregoing is a complete, true, and accurate transcript of the

   13    proceedings had in the above-entitled case before the

   14    Honorable MATTHEW F. KENNELLY, one of the judges of said

   15    Court, at Chicago, Illinois, on January 27, 2014.

   16

   17    /s/ Judith A. Walsh, CSR, RDR, F/CRR                    December 4, 2017

   18    Official Court Reporter

   19    United States District Court

   20    Northern District of Illinois

   21    Eastern Division

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